                                                           Hearing Date: September 21, 2022 at 9:30 a.m. AST
                                       Objection Deadline: June 23, 2022 (for parties other than the Fee Examiner)

                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


    In re:                                                           PROMESA
                                                                     Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO                                      No. 17 BK 3283-LTS
    RICO,
                                                                     (Jointly Administered)
              as representative of

    THE COMMONWEALTH OF PUERTO RICO,
    et al.

                             Debtors.1


NOTICE OF HEARING ON FOURTEENTH INTERIM APPLICATION OF JENNER &
BLOCK LLP FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
  EXPENSES INCURRED AS ATTORNEYS TO THE OFFICIAL COMMITTEE OF
 RETIRED EMPLOYEES OF THE COMMONWEALTH OF PUERTO RICO FROM
              OCTOBER 1, 2021 THROUGH JANUARY 31, 2022

             PLEASE TAKE NOTICE that a hearing on the Fourteenth Interim Application of Jenner

& Block LLP for Allowance of Compensation and Reimbursement of Expenses Incurred as

Attorneys for the Official Committee of Retired Employees of Puerto Rico from October 1, 2021

through January 31, 2022 (the “Application”), filed June 3, 2022, will be held before the

Honorable Laura Taylor Swain, United States District Court Judge, in the United States District

Court for the District of Puerto Rico, 150 Carlos Chardón Street, Federal Building, Office 150,



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  The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective title III
case number listed as a bankruptcy case number due to software limitations and the last four (4) digits of each Debtor’s
federal tax identification number, as applicable, are: (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK
3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (Bankruptcy
Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
Authority (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
Retirement System of the Government of the Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS)
(Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17
BK 4780) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (Bankruptcy
Case No. 19 BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
San Juan, Puerto Rico 00918-1767 (the “Court”), September 21, 2022 at 9:30 a.m. (Atlantic

Standard Time) or at such other place and time as ordered by the Court.

       PLEASE TAKE FURTHER NOTICE that any response or objection (any “Objection”)

to the Application by parties other than the Fee Examiner must be in writing, must conform to the

Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the District of Puerto

Rico, must be filed with the Court (a) by attorneys practicing in the Court, including attorneys

admitted pro hac vice, electronically in accordance with Rule 5 of the Local Rules for the District

of Puerto Rico, and (b) by all other parties in interest, on a CD-ROM, in text-searchable portable

document format (PDF), to the extent applicable, and shall be served in accordance with the

Court’s Order (A) Imposing and Rendering Applicable Local Bankruptcy Rules to These Title III

Cases, (B) Authorizing Establishment of Certain Notice, Case Management, and Administrative

Procedures, and (C) Granting Related Relief, as amended (Dkt. Nos. 249, 13512) and Third

Amended Order Setting Procedures For Interim And Final Compensation And Reimbursement Of

Expenses Of Professionals (Dkt. No. 20546), so as to be filed and received no later than June 23,

2022 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if an Objection to the Application is not

received by the Objection Deadline, the relief requested shall be deemed unopposed, and the Court

may enter an order granting the relief sought without a hearing pursuant to the case management

procedures.

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Dated: June 3, 2022       Respectfully submitted,


                          /s/ Robert Gordon
                          Robert Gordon (admitted pro hac vice)
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                          Counsel for The Official Committee of Retired
                          Employees of Puerto Rico




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